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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



 LYLE OWERKO,                                      Civil Action No.:

          Plaintiff,
                                                   COMPLAINT AND
          v.                                       DEMAND FOR A JURY TRIAL

 ROBERT GLASPER; CONCORD MUSIC
 GROUP, INC.; BENSUSAN
 RESTAURANT CORP. (d/b/a BLUE NOTE
 JAZZ FESTIVAL);

          Defendants.



       Plaintiff Lyle Owerko (“Owerko” or “Plaintiff”), by and through undersigned counsel and

pursuant to the applicable Federal Rules of Civil Procedure and the Local Rules of this Court,

hereby demands a trial by jury of all claims and issues so triable, and for his Complaint against

Defendants Robert Glasper; Concord Music Group, Inc.; and Bensusan Restaurant Corp. (d/b/a

Blue Note Jazz Festival) (collectively referred to herein as “Defendants”), hereby asserts and

alleges as follows:



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                                             PARTIES

       1.      Plaintiff Owerko is a renowned photographer and visual artist who currently resides

in the State of California.

       2.      Plaintiff is the sole author, creator, and registered owner of the copyrights in and to

the creative work identified herein and that is the subject of this action.

       3.      Defendant Robert Glasper (“Glasper”) is a highly acclaimed, Grammy Award-

winning jazz pianist and recording artist. Upon information and belief, Defendant Glasper is

currently a resident of California.

       4.      Defendant Concord Music Group, Inc. (“Concord”) is a Delaware corporation with

its headquarters in Nashville, TN.

       5.      Defendant Concord is registered to do business in New York State, with a registered

agent at Corporation Service Company, 80 State Street, Albany, NY 12207.

       6.      Upon information and belief, Concord also maintains an office in this District at

250 West 57th St., 6th Floor, New York, NY 10107.

       7.      Upon information and belief, Defendant Concord is the parent company of Loma

Vista Recordings, the record label associated with Defendant Glasper.

       8.      Upon information and belief, Defendants Glasper and/or Concord own and operate,

either directly and/or through their agent(s) or subsidiary(ies), multiple commercial websites that

promote and advertise Glasper’s albums, events, and merchandise, including those located at

www.robertglasper.com and www.whothefuckisrobertglasper.info (together, the “Glasper

Websites”), through which merchandise and concert tickets can be purchased.

       9.      Defendant Bensusan Restaurant Corp. (“BRC”) is a New York corporation with its

registered address located at 131 West 3rd Street, New York, NY, 10012.



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       10.     Upon information and belief, Defendant BRC is the owner and operator of the

“Blue Note Jazz Festival” and “Blue Note Jazz Club” entertainment venue, with locations around

the world including its flagship location at 131 W. 3rd Street.

       11.     Upon information and belief Defendant BRC owns and operates several Blue Note-

related websites, including www.bluenotejazz.com (the “Blue Note Website”) through which it

sells merchandise and provides artist/event information.

                                 JURISDICTION AND VENUE

       12.     Jurisdiction for Plaintiff’s claims lies with the United States District Court for the

Southern District of New York pursuant to the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq.,

28 U.S.C. § 1331 (conferring original jurisdiction “of all civil actions arising under the

Constitution, laws, or treaties of the United States”), and 28 U.S.C. § 1338(a) (conferring original

jurisdiction over claims arising under any act of Congress relating to copyrights).

       13.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) since a substantial portion

of the alleged misconduct by Defendants giving rise to the claims asserted herein occurred in this

District and 28 U.S.C. § 1400(a) since Defendants reside or may be found in this District.

       14.     Upon information and belief, each of the Defendants conducts substantial business

in the State of New York and in this District.

       15.     Upon information and belief, Defendant Glasper regularly travels to and performs

in venues located in this District, including the Blue Note Jazz Club.

       16.     Upon information and belief, Defendant Glasper performed at events or concerts in

this District that he and/or Concord promoted using the infringing artwork at issue herein.




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       17.     Upon information and belief, Defendant Glasper displayed and published the

infringing artwork at issue herein on screens and sold merchandise that featured the infringing

artwork at events or concerts in this District.

       18.     Upon information and belief, Defendants Glasper and Concord sold concert tickets,

albums, and merchandise from the Glasper Websites to customers in this District.

       19.     Upon information and belief, Defendant Glasper was aware of, participated in, and

approved the use of the infringing artwork at issue herein on the Glasper Websites and he directly

benefited from the infringements of Plaintiff’s copyrights that occurred in this District.

       20.     The “Website Terms and Conditions of Use” provided on the Glasper Websites

provide that any disputes arising therefrom shall be governed by New York law and that users

“submit to the personal jurisdiction of the federal and state courts located in New York County,

New York for the purposes of litigating any applicable claim.”

       21.     Defendants Concord and BRC are corporate residents of this District and thus

subject to general jurisdiction herein.

                                  GENERAL ALLEGATIONS

       22.     Plaintiff is a professional photographer and visual artist who makes his living by

selling and licensing his creative works.

       23.     Among other works and collections, Plaintiff is known for his stylized and highly

recognizable photographs of boomboxes that he included as part of his book titled The Boombox

Project: the machines, the music, and the urban underground (ISBN 978-0810982758).

       24.     Following the success of the The Boombox Project, Plaintiff designed and created

a series of limited edition, customized three-dimensional boombox sculptures made from a unique

blend of fiberglass resin and high gloss automotive paint (the “Boombox Sculptures”).



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       25.     One of the Boombox Sculptures was designed in all-black (the “Black Boombox”)

a copy of which is attached as Exhibit 1 and depicted below for ease of reference:




       26.     In or about November 2024, Plaintiff became aware that a derivative copy of the

Black Boombox was being used by Defendants in all manner of advertising materials and

merchandise/products to promote Glasper’s album titled, “Black Radio III,” and the “Black Radio

Experience” music festival organized and produced by Defendant BRC.

       27.     A side-by-side comparison of Plaintiff’s work and the version used on one of the

Glasper Websites is shown below for ease of reference.




                 Plaintiff’s Black Boombox               Glasper Website Use

       28.     Defendants created this digitally altered unauthorized copy of Plaintiff’s Black

Boombox and used it across their various websites to promote events, album sales, and the work

and appearances of Glasper, and did so for the last several years.




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       29.    Among other infringements, Defendants published the unauthorized copy of

Plaintiff’s Black Boombox to the Glasper Websites and used it as the main header image on the

homepages of the Glasper Websites to attract customers and promote Glasper and his

work/appearances.

       30.    Defendants also created and sold various merchandise/products featuring the

infringing copy of Plaintiff’s Black Boombox, including the “Black Radio Blanket,” “Black Tote,”

and a “Black Radio Experience Dad Hat,” as shown below.




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       31.    Defendants Glasper and BRC each posted a copy of the unauthorized and infringing

derivative copy of Plaintiff’s Black Boombox to their social media accounts, which have many

thousands of followers respectively, to promote the Black Radio Music Festival, as shown below.




       32.    Defendants also used the unauthorized and infringing derivative of Plaintiff’s Black

Boombox as the header image on the Blue Note Website to promote the 2024 Black Radio


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Experience music festival, at which Glasper was the “artist in residence” and which included other

headlining musicians such as John Legend, Jill Scott, and André 3000.




       33.     The Defendants also used their infringing copy of Plaintiff’s Black Boombox as the

closing image of a video created by Defendant BRC, titled “2024 Black Radio Experience Recap,”

and published to YouTube (available at https://www.youtube.com/watch?v=7SxYXTXIq8w).




       34.     Defendants also published the infringing copy of Plaintiff’s Black Boombox as the

primary image on another Glasper Websites through which visitors could purchase tickets to

Glasper events and buy his albums and merchandise (including the infringing merchandise

described above), as shown below.


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       35.    Defendant Glasper also displayed the illegal copy of Plaintiff’s Black Boombox as

the stage backdrop during certain concerts and events, as shown in the social media post below.




       36.    Defendant Glasper also published the same unauthorized derivative copy of

Plaintiff’s Black Boombox on the music streaming platform Spotify, as the header image for the

“Robert Glasper’s Black Radio Experience Playlist,” as shown below.




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        37.     Larger copies of each of these examples as well as other uses by Defendants are

attached hereto as Exhibit 2.

        38.     None of the Defendants ever sought or obtained permission from Plaintiff to

incorporate or use the Black Boombox work in any manner.

        39.     The full scope of Defendants’ uses of the Black Boombox is not yet known by

Plaintiff, as that information remains in their sole possession, and thus the uses included in

Exhibit 2 are not intended to be exhaustive.



                                         COUNT I
                                COPYRIGHT INFRINGEMENT
                                (DIRECT AND/OR VICARIOUS)

        40.     Plaintiff repeats and re-alleges each allegation set forth in the paragraphs above as

if set forth fully herein.

        41.     Plaintiff has registered his copyrights in the Black Boombox under Registration No.

VAu 1-429-744 (titled “Black Boombox v.001,” effective April 21, 2021).

        42.     Upon information and belief, Plaintiff registered his copyrights in the Black

Boombox work prior to the commencement of Defendants’ infringements.

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       43.     Plaintiff also previously registered the computer-aided design for his boombox

sculptural works (titled “Boombox Project Sculpture CAD drawing”) in 2015 under VAu 1-224-

625 (effective August 10, 2015) and his original boombox sculpture (titled “Owerko Boombox

Sculpture”) in 2015 under VAu 1-224-567 (effective August 3, 2015).

       44.     Upon information and belief, Plaintiff registered his copyrights in Boombox Project

Sculpture CAD drawing and Owerko Boombox Sculpture                 prior to the commencement of

Defendants’ infringements.

       45.     As alleged herein, Defendants each copied, published, distributed, displayed, and

otherwise exploited Plaintiff’s Black Boombox work in various media without Plaintiff’s

permission or a valid license to do so.

       46.     Upon information and belief, Defendants Glasper and Concord had the right and

ability to control the material published on the Glasper Websites, in merchandise/products, and

related promotional/advertising materials published by BRC, and received direct financial benefits

therefrom.

                                             Willfulness

       47.     Upon information and belief, Defendants either knew or had reason to know that

their extensive uses of Plaintiff’s Black Boombox were not authorized by Plaintiff or validly

licensed, including because they are sophisticated media companies and a professional musician

that regularly deal with copyright/licensing issues, and because they never sought or inquired about

the ownership/license status for such work.

       48.     Further, at least one of the uses of Plaintiff’s Black Boombox remains displayed on

one of the Glasper Websites (located at www.whothefuckisrobertglasper.info), even after




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Plaintiff’s counsel sent notice to Glasper’s agent and communicated with Defendant Concord’s in-

house counsel.

        49.      At the very least, Defendants’ conduct constitutes reckless disregard of Plaintiff’s

copyrights.

                                       Causal Nexus to Profits

        50.      As alleged herein, Defendants each misappropriated Plaintiff’s intellectual property

for their own profit, causing Plaintiff significant injuries, damages, and losses in amounts to be

determined at trial.

        51.      Defendants have financially benefitted from the unauthorized use of Plaintiff’s

creative work, both through the direct sale of merchandise featuring the work as well as through

promotional/advertising materials that generated ticket sales.

        52.      Defendant BRC used an unauthorized copy of Plaintiff’s Black Boombox on social

media and on the Blue Note Website to promote/advertise the Black Radio Experience music

festival, which in turn drove ticket sales to the festival.

        53.      Upon information and belief, Defendants’ extensive and consistent use of

Plaintiff’s Black Boombox work, as the literal and iconographic representation of a “Black Radio”

to promote the Black Radio III album and Black Radio Experience music festival, effectively

established a brand identity akin to a corporate logo or trademark.

        54.      Upon information and belief, the cumulative effect of Defendants’ use of Plaintiff’s

work as a visual brand identity generated ill-gotten revenues beyond the direct sale of infringing

merchandise and music festival tickets.

        55.      Plaintiff seeks all damages recoverable under the Copyright Act, including

statutory or actual damages, including Defendants’ profits attributable to the infringing uses of



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Plaintiff's creative work, and the damages suffered as a result of the lack of compensation, credit,

and attribution.



       WHEREFORE, Plaintiff respectfully prays for judgment on his behalf and for the

following relief:

       1.      A preliminary and permanent injunction against Defendants from copying,

displaying, distributing, advertising, promoting, and/or selling the infringing materials identified

herein, and requiring Defendants to deliver to the Court for destruction or other appropriate

disposition all relevant materials, including digital files of Plaintiff’s work and all copies of the

infringing materials described in this complaint that are in the control or possession or custody of

Defendants;

       2.      All allowable damages under Section 504 of the Copyright Act, including, but not

limited to statutory or actual damages, including damages incurred as a result of Plaintiff’s loss of

licensing revenue, damage to the value of the copyrighted works, and Defendants’ profits

attributable to the infringement;

       3.      Plaintiff’s recoverable costs and attorneys’ fees incurred in pursuing and litigating

this matter, as authorized by Section 505 of the Copyright Act;

       4.      For such other and further relief as the Court deems just and proper.



JURY TRIAL DEMANDED




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Dated: April 24, 2025

                                    Respectfully submitted,

                                    /s/ Kevin McCulloch
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